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                       Exhibit 19
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                             LG/ Homes, Inc.
                     Performance Based Job Description
                           New Home Consultant

     Reports To: Sales Manager
     Prepared By: LGI Homes Executive Team

     General Duties & Responsibilities: Report to work Monday through
     Friday, on time for assigned shift. Saturday and Sunday work is required. Take
     incoming phone calls, set appointments or arrange for follow-up meetings. Turn in Daily
     Reports to Office Manager each day. Perform office closing duties when scheduled .
     Tour properties with prospects, write sales contracts and deliver to Sales Manager.
     Maintain contact with customer until closing with Title Company. Within 48 hours after
     closing, perform quality service follow-up call and ask fo r referrals. Attend all Quarterly
     Meetings and Annual Awards Gala.

     MISSION CRITICAL TASKS:
         1. Sell and close 20 homes per year the LGI Way.
         2~for-m-S&l~ff-ccrl~ach-week:-
         3. Listen to at least 2 ad cal ls with Sa les Manager each month.
         4. Tour with Sales M anager each quarter.
         5. Attend and participate in Sales Training each Th ursday at 12:00 pm .
         6. Attend and participate in Sales Meeting each Sat urday at 8:30 am.
         7. Participate in goal session w ith Sales Manage r each month.
         8. Attend and participate in Corporate Sa les Training each quarter.

     Commission wi ll not be paid to a New Home Consultant if a sale was made before he/she has officially
     graduated from Sales Training.

     New Home Consultants must be meeting minimum standards to be considered fo r transfer to another LGI
     community.

     In the event a New Home Consultant separates employment, credit will be given for closings up to t he date
     of separation. The New Home Consultant w ill not receive credit for closings that occur after the date of
     separation. Commissions earned wil l be com pared to actua l draw pa id. If commissio ns are greater th an the
     amount paid, the commissions will be paid on the next scheduled pay period




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